                      Case
                       Case3:23-cv-00829-TLT
                            3:23-cv-00829-LB Document 10
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          California

                                                                              )
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                                                ;
                                                                              )
                                                                              )
                            Plaintiff(s)                                      )
                                                                              )                                        3:23-cv-00829 LB
                                v.                                                            Civil Action No.
                                                                              )
                                                                              )
                                                                              )
                                                                              )
                                                                              )
                           Defendant(s)                                       )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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            February 24, 2023
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Date:
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                                                                                                    AL            Signature of Clerk or Deputy Clerk
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                  Case3:23-cv-00829-TLT
                       3:23-cv-00829-LB Document 10
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                                     ATTACHMENT TO SUMMONS



U.S. Immigration and Customs Enforcement
Office of the General Counsel
U.S. Department of Homeland Security
245 Murray Lane, SW
Mail Stop 0485
Washington, DC 20528-0485

The GEO Group, Inc.
c/o General Counsel
4955 Technology Way
Boca Raton, Florida 33431

Tae Johnson
Acting Director of U.S. Immigration and Customs Enforcement
c/o U.S. Immigration and Customs Enforcement
Office of the General Counsel
U.S. Department of Homeland Security
245 Murray Lane, SW
Mail Stop 0485
Washington, DC 20528-0485

Moises Becerra
Director of the San Francisco Field Office
U.S. Immigration and Customs Enforcement
630 Sansome Street
Room 590
San Francisco, CA 94111

Norbal Vasquez
Facility Administrator
Mesa Verde ICE Processing Center
425 Golden State Avenue
Bakersfield, CA 93301

Minga Wofford
Facility Administrator
Golden State Annex
611 Frontage Road
McFarland, CA 93250
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)           The GEO Group, Inc.
 was received by me on (date)                                            .

               I personally served the summons on the individual at (place)
                                                                                      on (date)                                ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                              , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                                ; or

               I returned the summons unexecuted because                                                                                      ; or
                                    On February 27, 2023, I served the documents listed in Attachment A upon The GEO Group, Inc. by causing true and
               Other (specify): correct copies to be delivered via U.S. Postal Service certified mail return receipt requested in sealed envelopes with all
                                    fees prepaid to The GEO Group, Inc., c/o General Counsel, 4955 Technology Way, Boca Raton, Florida 33431
                                                                                                                                                     .


           My fees are $                           for travel and $                        for services, for a total of $                            .


           I declare under penalty of perjury that this information is true.


 Date:        2/28/2023
                                                                                                  Server’s signature



                                                                                               Printed name and title




                                                                                                  Server’s address

 Additional information regarding attempted service, etc:
                Case 3:23-cv-00829-TLT Document 10 Filed 02/28/23 Page 4 of 4




                                                   Attachment A
1.    Summons issued by Clerk
2.    Complaint for Declaratory and Injunctive Relief
3.    Civil Cover Sheet
4.    Certification of Conflicts and Interested Parties or Persons
5.    Proposed Summons
6.    Case Assigned to Magistrate Judge
7.    Application for Admission of Attorney Pro Hac Vice
8.    Order Granting Application for Admission of Attorney Pro Hac Vice
9.    Order Setting Initial Case Management Conference and ADR Deadlines
10.   Standing Order of Magistrate Judge Laurel Beeler
11.   Standing Order for All Judges of the Northern District of California
12.   Consent or Declination to Magistrate Judge Jurisdiction
13.   Case Management Statement Form for the Northern District of California
14.   Administrative Motion to Proceed Under Initials
